Case 2:20-cv-10109-FMO Document 39 Filed 02/09/21 Page 1 of 2 Page ID #:4796

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                 CASE NUMBER:


 MULTIPLE ENERGY TECHNOLOGIES, LLC                                 2:20−cv−10109−FMO
                                                 Appellant(s),

          v.
 HOLOGENIX, LLC
                                                                   NOTICE TO FILER OF DEFICIENCIES IN
                                                 Appellee(s).      ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         2/8/2021
 Document Number(s):                 22
 Title of Document(s):              Stipulation
 ERROR(S) WITH DOCUMENT:

 Proposed order not submitted pursuant to Local Rule 52−4.1. A Word or Wordperfect version of the proposed
 order should also be emailed to the chambers generic email address.




 Other:

 Lodging of a proposed order, or emailing of a proposed order is required no later than 2/11/2021, or the
 stipulation may be stricken.
 Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
 notice unless and until the Court directs you to do so.


                                                   Clerk, U.S. District Court

 Dated: February 9, 2021                           By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                      Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge


 G−112A(05/19) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
Case 2:20-cv-10109-FMO Document 39 Filed 02/09/21 Page 2 of 2 Page ID #:4797
    Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




 G−112A(05/19) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
